                                                                                                   Case:11-00443-jdg
                                                                     B6 Summary (Form 6 - Summary) (12/07)
                                                                                                                                       Doc #:22 Filed: 04/11/2011                          Page 1 of 13
                                                                                                                                  United States Bankruptcy Court
                                                                                                                                   Western District of Michigan

                                                                     IN RE:                                                                                                                Case No. 11-00443-jrh
                                                                     Dills, Paul A. & Dills, Lois D.                                                                                       Chapter 7
                                                                                                                          Debtor(s)

                                                                                                                                   SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                     a case under chapter 7, 11, or 13.

                                                                                                                                 ATTACHED           NUMBER OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)            SHEETS                 ASSETS                LIABILITIES                 OTHER


                                                                      A - Real Property                                               Yes                          1 $       1,703,575.00



                                                                      B - Personal Property                                           Yes                          3 $           53,495.38



                                                                      C - Property Claimed as Exempt                                  Yes                          2
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                                                                      D - Creditors Holding Secured Claims                            Yes                          1                           $        249,105.00


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                      Yes                          1                           $                 0.00
                                                                          Claims (Total of Claims on Schedule E)

                                                                      F - Creditors Holding Unsecured
                                                                                                                                      Yes                          1                           $        198,467.80
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                      Yes                          1
                                                                          Leases


                                                                      H - Codebtors                                                   Yes                          1


                                                                      I - Current Income of Individual
                                                                                                                                      Yes                          1                                                     $             730.42
                                                                          Debtor(s)

                                                                      J - Current Expenditures of Individual
                                                                                                                                      Yes                          1                                                     $           3,309.00
                                                                          Debtor(s)


                                                                                                                                      TOTAL                      13 $        1,757,070.38 $             447,572.80
                                                                                                Case:11-00443-jdg
                                                                     Form 6 - Statistical Summary (12/07)
                                                                                                                          Doc #:22 Filed: 04/11/2011              Page 2 of 13
                                                                                                                     United States Bankruptcy Court
                                                                                                                      Western District of Michigan

                                                                     IN RE:                                                                                       Case No. 11-00443-jrh
                                                                     Dills, Paul A. & Dills, Lois D.                                                              Chapter 7
                                                                                                              Debtor(s)

                                                                              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
                                                                     If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. §
                                                                     101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                     ü  Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                     information here.

                                                                     This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                      Type of Liability                                                                                       Amount

                                                                      Domestic Support Obligations (from Schedule E)                                                    $

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                        $
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                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
                                                                      disputed or undisputed)                                                                           $

                                                                      Student Loan Obligations (from Schedule F)                                                        $

                                                                      Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                      Schedule E                                                                                        $

                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $

                                                                                                                                                           TOTAL        $


                                                                      State the following:

                                                                      Average Income (from Schedule I, Line 16)                                                         $

                                                                      Average Expenses (from Schedule J, Line 18)                                                       $

                                                                      Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C
                                                                      Line 20 )                                                                                         $


                                                                      State the following:

                                                                      1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                        $

                                                                      2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $

                                                                      3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                          $

                                                                      4. Total from Schedule F                                                                                            $

                                                                      5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                        $
                                                                     B6B (Official Form 6B) (12/07)
                                                                                                    Case:11-00443-jdg                   Doc #:22 Filed: 04/11/2011                          Page 3 of 13
                                                                     IN RE Dills, Paul A. & Dills, Lois D.                                                                                  Case No. 11-00443-jrh
                                                                                                                                Debtor(s)                                                                                             (If known)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                                                                     “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                     in Schedule C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                       If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                                                                     held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                              CURRENT VALUE OF
                                                                                                                       N                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                                                      PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                                                        DEDUCTING ANY
                                                                                                                       E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                                                  EXEMPTION




                                                                        1. Cash on hand.                                   cash on hand                                                                                  J                               223.00
                                                                        2. Checking, savings or other financial            Eaton Federal Savings Bank (as of 1/10/11) (This account is                                   J                             1,325.27
                                                                           accounts, certificates of deposit or            held in the names of Paul A. Dills and Lois D. Dills, Trustees of
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                                                                           shares in banks, savings and loan,              the Lois D. Dills Living Trust)
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit               Independent Bank (as of 1/17/11) (The account is held in the                                  J                                  0.55
                                                                           unions, brokerage houses, or                    name of Lois D. Dills and Nancy Hicks)
                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                living room, dining room, kitchen, and bedroom furniture                                      J                             2,500.00
                                                                           include audio, video, and computer
                                                                           equipment.
                                                                        5. Books, pictures and other art objects,          misc. books and pictures                                                                      J                               200.00
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                                normal clothing                                                                               J                               500.00
                                                                        7. Furs and jewelry.                               11 gold rings, 20 necklaces, 3 watches                                                        J                             2,500.00
                                                                        8. Firearms and sports, photographic,              Walther 380, S&W 38, Remington 22, Remington shotgun                                          J                               850.00
                                                                           and other hobby equipment.
                                                                        9. Interest in insurance policies. Name        X
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each                 New York Life (variable annuity as of 11/1/10)                                             W                              22,663.18
                                                                          issue.
                                                                      11. Interests in an education IRA as             X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(s). 11
                                                                          U.S.C. § 521(c).)
                                                                      12. Interests in IRA, ERISA, Keogh, or               American Equity Investment IRA                                                             W                                9,730.38
                                                                          other pension or profit sharing plans.
                                                                          Give particulars.
                                                                      13. Stock and interests in incorporated              Debtors are Trustees of the Paul A. Dills Living Trust and the                                J                                  1.00
                                                                          and unincorporated businesses.                   Lois D. Dills Living Trust. The assets of the trusts are the real
                                                                          Itemize.                                         estate listed on Schedule A and the bank account listed above.
                                                                                                                           Debtors have a Charitable Remainder Unitrust. They are not a                                  J                                  1.00
                                                                                                                           beneficiaries of the Unitrust.
                                                                                                   Case:11-00443-jdg
                                                                     B6B (Official Form 6B) (12/07) - Cont.
                                                                                                                                   Doc #:22 Filed: 04/11/2011                    Page 4 of 13
                                                                     IN RE Dills, Paul A. & Dills, Lois D.                                                                       Case No. 11-00443-jrh
                                                                                                                            Debtor(s)                                                                              (If known)

                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                (Continuation Sheet)




                                                                                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                     OR COMMUNITY
                                                                                                                                                                                                                           CURRENT VALUE OF
                                                                                                                     N                                                                                                    DEBTOR'S INTEREST IN
                                                                                                                     O                                                                                                     PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                       DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                     N                                                                                                       DEDUCTING ANY
                                                                                                                     E                                                                                                     SECURED CLAIM OR
                                                                                                                                                                                                                               EXEMPTION



                                                                                                                         Dills Excavating LLC (defunct)                                               J                                  1.00
                                                                      14. Interests in partnerships or joint         X
                                                                          ventures. Itemize.
                                                                      15. Government and corporate bonds and         X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                       X
                                                                      17. Alimony, maintenance, support, and         X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                                                                     X
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                                                                      18. Other liquidated debts owed to debtor
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      19. Equitable or future interest, life         X
                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule A - Real Property.
                                                                      20. Contingent and noncontingent               X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
                                                                      21. Other contingent and unliquidated          X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other             X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other            X
                                                                          general intangibles. Give particulars.
                                                                      24. Customer lists or other compilations       X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) provided to the debtor by
                                                                          individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and             2002 Lincoln Continental (free and clear)                                 W                                4,000.00
                                                                          other vehicles and accessories.                2005 GMC Sierra (free and clear)                                            H                              8,000.00
                                                                      26. Boats, motors, and accessories.            X
                                                                      27. Aircraft and accessories.                  X
                                                                      28. Office equipment, furnishings, and             adding machine, copy and fax machine                                         J                             1,000.00
                                                                          supplies.
                                                                      29. Machinery, fixtures, equipment, and        X
                                                                          supplies used in business.
                                                                      30. Inventory.                                 X
                                                                      31. Animals.                                   X
                                                                                                 Case:11-00443-jdg
                                                                     B6B (Official Form 6B) (12/07) - Cont.
                                                                                                                             Doc #:22 Filed: 04/11/2011                  Page 5 of 13
                                                                     IN RE Dills, Paul A. & Dills, Lois D.                                                               Case No. 11-00443-jrh
                                                                                                                      Debtor(s)                                                                                (If known)

                                                                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                                                                           (Continuation Sheet)




                                                                                                                                                                                              HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                 OR COMMUNITY
                                                                                                                                                                                                                       CURRENT VALUE OF
                                                                                                                N                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                O                                                                                                      PROPERTY WITHOUT
                                                                                  TYPE OF PROPERTY                                DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                N                                                                                                        DEDUCTING ANY
                                                                                                                E                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                           EXEMPTION




                                                                      32. Crops - growing or harvested. Give    X
                                                                          particulars.
                                                                      33. Farming equipment and implements.     X
                                                                      34. Farm supplies, chemicals, and feed.   X
                                                                      35. Other personal property of any kind   X
                                                                          not already listed. Itemize.
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                                                                                                                                                                                        TOTAL                                 53,495.38
                                                                                                                                                                   (Include amounts from any continuation sheets attached.
                                                                              0 continuation sheets attached                                                                  Report total also on Summary of Schedules.)
                                                                     B6C (Official Form 6C) (04/10)
                                                                                                   Case:11-00443-jdg                   Doc #:22 Filed: 04/11/2011                     Page 6 of 13
                                                                     IN RE Dills, Paul A. & Dills, Lois D.                                                                            Case No. 11-00443-jrh
                                                                                                                               Debtor(s)                                                                          (If known)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $146,450. *
                                                                     (Check one box)

                                                                        ü11 U.S.C. § 522(b)(2)
                                                                         11 U.S.C. § 522(b)(3)

                                                                                                                                                                                                                      CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED           OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION            WITHOUT DEDUCTING
                                                                                                                                                                                                                       EXEMPTIONS

                                                                     SCHEDULE A - REAL PROPERTY
                                                                     66 ft strip of land (private road) located on 11 USC § 522(d)(5)                                                                      1.00                 2,400.00
                                                                     Otto Road, Charlotte, MI (SEV: $1,200) (The
                                                                     property is owned by the Paul A. Dills
                                                                     Living Trust and the Lois D. Dills Living
                                                                     Trust)
                                                                     Parcel #1 (070-004-100-004-26)- 1.76 acres                   11 USC § 522(d)(5)                                                  9,375.00                  9,375.00
                                                                     of vacant property owned by the Paul A.
                                                                     Dills Living Trust and Lois D. Dills Living
                                                                     Trust.
                                                                     Vacant property located on Doane Hwy in                      11 USC § 522(d)(5)                                                  1,800.00                  1,800.00
                                                                     Grand Ledge, MI (Parcel
                                                                     #070-004-200-190-00) (SEV: $900) (The
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                                                                     property is owned by the Paul A. Dills
                                                                     Living Trust and Lois D. Dills Living Trust)
                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     cash on hand                                                 11 USC § 522(d)(5)                                                    223.00                     223.00
                                                                     Eaton Federal Savings Bank (as of 1/10/11) 11 USC § 522(d)(5)                                                                      276.00                  1,325.27
                                                                     (This account is held in the names of Paul
                                                                     A. Dills and Lois D. Dills, Trustees of the
                                                                     Lois D. Dills Living Trust)
                                                                     Independent Bank (as of 1/17/11) (The        11 USC § 522(d)(5)                                                                       0.28                      0.55
                                                                     account is held in the name of Lois D. Dills
                                                                     and Nancy Hicks)
                                                                     living room, dining room, kitchen, and                       11 USC § 522(d)(3)                                                  2,500.00                  2,500.00
                                                                     bedroom furniture
                                                                     misc. books and pictures                                     11 USC § 522(d)(3)                                                    200.00                     200.00
                                                                     normal clothing                                              11 USC § 522(d)(3)                                                    500.00                     500.00
                                                                     11 gold rings, 20 necklaces, 3 watches                       11 USC § 522(d)(4)                                                  2,500.00                  2,500.00
                                                                     Walther 380, S&W 38, Remington 22,                           11 USC § 522(d)(5)                                                    127.00                     850.00
                                                                     Remington shotgun
                                                                     New York Life (variable annuity as of                        11 USC § 522(d)(5)                                                       1.00                22,663.18
                                                                     11/1/10)
                                                                     American Equity Investment IRA                               11 USC § 522(d)(12)                                                 9,730.38                  9,730.38
                                                                     Debtors are Trustees of the Paul A. Dills    11 USC § 522(d)(5)                                                                       1.00                      1.00
                                                                     Living Trust and the Lois D. Dills Living
                                                                     Trust. The assets of the trusts are the real
                                                                     estate listed on Schedule A and the bank
                                                                     account listed above.
                                                                     Debtors have a Charitable Remainder                          11 USC § 522(d)(5)                                                       1.00                      1.00
                                                                     Unitrust. They are not a beneficiaries of
                                                                     the Unitrust.
                                                                     Dills Excavating LLC (defunct)                               11 USC § 522(d)(5)                                                       1.00                      1.00
                                                                     2002 Lincoln Continental (free and clear)                    11 USC § 522(d)(2)                                                  3,450.00                  4,000.00
                                                                     2005 GMC Sierra (free and clear)                             11 USC § 522(d)(2)                                                  3,450.00                  8,000.00
                                                                     adding machine, copy and fax machine                         11 USC § 522(d)(6)                                                  1,000.00                  1,000.00


                                                                     * Amount subject to adjustment on 4/1/13 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                Case:11-00443-jdg
                                                                     B6C (Official Form 6C) (04/10) - Cont.
                                                                                                                           Doc #:22 Filed: 04/11/2011                  Page 7 of 13
                                                                     IN RE Dills, Paul A. & Dills, Lois D.                                                             Case No. 11-00443-jrh
                                                                                                                    Debtor(s)                                                                 (If known)

                                                                                                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                                           (Continuation Sheet)

                                                                                                                                                                                                  CURRENT VALUE
                                                                                                                                                                           VALUE OF CLAIMED        OF PROPERTY
                                                                                    DESCRIPTION OF PROPERTY                     SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                              EXEMPTION         WITHOUT DEDUCTING
                                                                                                                                                                                                   EXEMPTIONS
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                                                                     B6D (Official Form 6D) (12/07)
                                                                                                    Case:11-00443-jdg                                              Doc #:22 Filed: 04/11/2011                   Page 8 of 13
                                                                     IN RE Dills, Paul A. & Dills, Lois D.                                                                                                     Case No. 11-00443-jrh
                                                                                                                                 Debtor(s)                                                                                                                                   (If known)

                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.
                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                                                                     will not fit on this page, use the continuation sheet provided.
                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                                                                     of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                                                                     if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                                                                     Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                              OR COMMUNITY




                                                                                                                                                                                                                                 UNLIQUIDATED
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                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                CODEBTOR




                                                                                                                                                                                                                                                              AMOUNT OF




                                                                                                                                                                                                                                                DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                             DATE CLAIM WAS INCURRED,                                                      CLAIM WITHOUT
                                                                                                                                                                                                                                                                                      UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                   NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                             DEDUCTING
                                                                                                                                                                                                                                                                                    PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                               PROPERTY SUBJECT TO LIEN                                                        VALUE OF
                                                                                                                                                                                                                                                             COLLATERAL




                                                                     ACCOUNT NO. 6486                                           X J first mortgage on 7642 Otto Rd.,                                                                                           104,105.00
                                                                     CitiMortgage Inc.                                              Charlotte, MI 48813
                                                                     POB 6006
                                                                     The Lakes, NV 88901

                                                                                                                                                                   VALUE $ 160,000.00

                                                                     ACCOUNT NO.                                                                J second mortgage on 7642 Otto Rd.,                                                                            145,000.00                 89,105.00
                                                                     Robert Bohlen                                                                Charlotte, MI 48813 (loan taken for
                                                                     34 Park St., Ste. D                                                          business purposes)
                                                                     Andover, MA 01810

                                                                                                                                                                   VALUE $ 160,000.00

                                                                     ACCOUNT NO.




                                                                                                                                                                   VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                   VALUE $
                                                                                                                                                                                                                      Subtotal
                                                                            0 continuation sheets attached                                                                                                (Total of this page) $ 249,105.00 $                                             89,105.00
                                                                                                                                                                                                                         Total
                                                                                                                                                                                                       (Use only on last page) $ 249,105.00 $                                             89,105.00
                                                                                                                                                                                                                                                           (Report also on         (If applicable, report
                                                                                                                                                                                                                                                           Summary of              also on Statistical
                                                                                                                                                                                                                                                           Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                   Liabilities and Related
                                                                                                                                                                                                                                                                                   Data.)
                                                                     B6F (Official Form 6F) (12/07)
                                                                                                    Case:11-00443-jdg                             Doc #:22 Filed: 04/11/2011                               Page 9 of 13
                                                                     IN RE Dills, Paul A. & Dills, Lois D.                                                                                                Case No. 11-00443-jrh
                                                                                                                                 Debtor(s)                                                                                                   (If known)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
                                                                     listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                                     OR COMMUNITY




                                                                                                                                                                                                                                             UNLIQUIDATED
                                                                                                                                                                                                                                CONTINGENT
                                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                            DISPUTED
                                                                                   CREDITOR'S NAME, MAILING ADDRESS                                                              DATE CLAIM WAS INCURRED AND                                                           AMOUNT
                                                                               INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                         CONSIDERATION FOR CLAIM. IF CLAIM IS                                                      OF
                                                                                          (See Instructions Above.)                                                                SUBJECT TO SETOFF, SO STATE                                                          CLAIM
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                                                                     ACCOUNT NO. 40CK                                                  X J sold farm property (business-related claim)                                          X X X
                                                                     Chad & Catherine Frazier
                                                                     C/O William Tomblin
                                                                     3493 Woods Edge Dr., Ste. 100
                                                                     Okemos, MI 48864
                                                                                                                                                                                                                                                                       182,634.80
                                                                     ACCOUNT NO. 9545                                                                  J 2006
                                                                     Chase                                                                               credit card
                                                                     Attn. Cardmember Services
                                                                     POB 30201
                                                                     Tampa, FL 33630-3201
                                                                                                                                                                                                                                                                         6,924.00
                                                                     ACCOUNT NO. 6915                                                                  J 2006
                                                                     US Bank                                                                             credit card
                                                                     Cardmember Services
                                                                     POB 790408
                                                                     Saint Louis, MO 63179-0408
                                                                                                                                                                                                                                                                         8,909.00
                                                                     ACCOUNT NO.




                                                                                                                                                                                                                                  Subtotal
                                                                            0 continuation sheets attached                                                                                                            (Total of this page) $ 198,467.80
                                                                                                                                                                                                                                       Total
                                                                                                                                                                          (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                              the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                           Summary of Certain Liabilities and Related Data.) $ 198,467.80
                                                                     B6H (Official Form 6H) (12/07)
                                                                                                   Case:11-00443-jdg                     Doc #:22 Filed: 04/11/2011                            Page 10 of 13
                                                                     IN RE Dills, Paul A. & Dills, Lois D.                                                                                      Case No. 11-00443-jrh
                                                                                                                                  Debtor(s)                                                                                   (If known)

                                                                                                                                     SCHEDULE H - CODEBTORS
                                                                        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
                                                                     of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
                                                                     of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                     territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                     a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
                                                                     name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                         Check this box if debtor has no codebtors.

                                                                                                NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR


                                                                     Paul A. And Lois D. Dills                                                                 Chad & Catherine Frazier
                                                                     Charitable Unitrust                                                                       C/O William Tomblin
                                                                     7746 Otto Rd.                                                                             3493 Woods Edge Dr., Ste. 100
                                                                     Charlotte, MI 48813                                                                       Okemos, MI 48864
                                                                     Paul A. Dills Living Trust And                                                            CitiMortgage Inc.
                                                                     Lois D. Dills Living Trust                                                                POB 6006
                                                                     7642 Otto Rd.                                                                             The Lakes, NV 88901
                                                                     Charlotte, MI 48813
                                                                                                                                                               Chad & Catherine Frazier
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                                                                                                                                                               C/O William Tomblin
                                                                                                                                                               3493 Woods Edge Dr., Ste. 100
                                                                                                                                                               Okemos, MI 48864
                                                                                                  Case:11-00443-jdg
                                                                     B6I (Official Form 6I) (12/07)
                                                                                                                                      Doc #:22 Filed: 04/11/2011                         Page 11 of 13
                                                                     IN RE Dills, Paul A. & Dills, Lois D.                                                                                Case No. 11-00443-jrh
                                                                                                                               Debtor(s)                                                                                     (If known)

                                                                                                      SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                     The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed, unless the spouses
                                                                     are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income calculated on this form may differ from the current
                                                                     monthly income calculated on From 22A, 22B, or 22C.
                                                                      Debtor's Marital Status                                                            DEPENDENTS OF DEBTOR AND SPOUSE
                                                                      Married                                     RELATIONSHIP(S):                                                                                             AGE(S):




                                                                      EMPLOYMENT:                                            DEBTOR                                                                      SPOUSE
                                                                      Occupation
                                                                      Name of Employer          Retired                                                                Retired
                                                                      How long employed
                                                                      Address of Employer



                                                                     INCOME: (Estimate of average or projected monthly income at time case filed)                                                           DEBTOR                            SPOUSE
                                                                     1. Current monthly gross wages, salary, and commissions (prorate if not paid monthly)                                    $                               $
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                                                                     2. Estimated monthly overtime                                                                                            $                               $
                                                                     3. SUBTOTAL                                                                                                              $                       0.00 $                           0.00
                                                                     4. LESS PAYROLL DEDUCTIONS
                                                                       a. Payroll taxes and Social Security                                                                                   $                               $
                                                                       b. Insurance                                                                                                           $                               $
                                                                       c. Union dues                                                                                                          $                               $
                                                                       d. Other (specify)                                                                                                     $                               $
                                                                                                                                                                                              $                               $
                                                                     5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                        $                       0.00 $                           0.00
                                                                     6. TOTAL NET MONTHLY TAKE HOME PAY                                                                                       $                       0.00 $                           0.00

                                                                     7. Regular income from operation of business or profession or farm (attach detailed statement)                           $                               $
                                                                     8. Income from real property                                                                                             $                               $
                                                                     9. Interest and dividends                                                                                                $                               $
                                                                     10. Alimony, maintenance or support payments payable to the debtor for the debtor’s use or
                                                                     that of dependents listed above                                                                                          $                               $
                                                                     11. Social Security or other government assistance
                                                                       (Specify) Social Security                                                                                              $                   407.00 $                          85.00
                                                                                                                                                                                              $                               $
                                                                     12. Pension or retirement income                                                                                         $                               $
                                                                     13. Other monthly income
                                                                       (Specify) Annuity                                                                                                      $                               $                    38.42
                                                                                    New York Life                                                                                             $                               $                   200.00
                                                                                                                                                                                              $                               $

                                                                     14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                       $                   407.00 $                        323.42
                                                                     15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                         $                   407.00 $                        323.42

                                                                     16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15;
                                                                     if there is only one debtor repeat total reported on line 15)                                                                            $                   730.42
                                                                                                                                                                                              (Report also on Summary of Schedules and, if applicable, on
                                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data)

                                                                     17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                     Debtors had rental income from farmland in 2010, but that income has become an asset of the Charitable Unitrust in 2011.
                                                                     Therefore, it is not the Debtors' income for future time periods.
                                                                                                  Case:11-00443-jdg
                                                                     B6J (Official Form 6J) (12/07)
                                                                                                                                      Doc #:22 Filed: 04/11/2011                          Page 12 of 13
                                                                     IN RE Dills, Paul A. & Dills, Lois D.                                                                                 Case No. 11-00443-jrh
                                                                                                                               Debtor(s)                                                                               (If known)

                                                                                               SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate any payments made biweekly,
                                                                     quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may differ from the deductions from income allowed
                                                                     on Form22A or 22C.
                                                                        Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of
                                                                     expenditures labeled “Spouse.”

                                                                     1. Rent or home mortgage payment (include lot rented for mobile home)                                                                              $            1,200.00
                                                                         a. Are real estate taxes included? Yes      No ü
                                                                         b. Is property insurance included? Yes      No ü
                                                                     2. Utilities:
                                                                         a. Electricity and heating fuel                                                                                                                $              200.00
                                                                         b. Water and sewer                                                                                                                             $
                                                                         c. Telephone                                                                                                                                   $              102.00
                                                                         d. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     3. Home maintenance (repairs and upkeep)                                                                                                           $               50.00
                                                                     4. Food                                                                                                                                            $              350.00
                                                                     5. Clothing                                                                                                                                        $               20.00
                                                                     6. Laundry and dry cleaning                                                                                                                        $
                                                                     7. Medical and dental expenses                                                                                                                     $              245.00
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                                                                     8. Transportation (not including car payments)                                                                                                     $              160.00
                                                                     9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                $
                                                                     10. Charitable contributions                                                                                                                       $              100.00
                                                                     11. Insurance (not deducted from wages or included in home mortgage payments)
                                                                         a. Homeowner’s or renter’s                                                                                                                     $                57.00
                                                                         b. Life                                                                                                                                        $
                                                                         c. Health                                                                                                                                      $              168.00
                                                                         d. Auto                                                                                                                                        $              157.00
                                                                         e. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     12. Taxes (not deducted from wages or included in home mortgage payments)
                                                                         (Specify) Property Taxes                                                                                                                       $              300.00
                                                                                                                                                                                                                        $
                                                                     13. Installment payments: (in chapter 11, 12 and 13 cases, do not list payments to be included in the plan)
                                                                         a. Auto                                                                                                                                        $
                                                                         b. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     14. Alimony, maintenance, and support paid to others                                                                                               $
                                                                     15. Payments for support of additional dependents not living at your home                                                                          $
                                                                     16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                   $
                                                                     17. Other Promissory Note To Robert Bohlen                                                                                                         $              200.00
                                                                                                                                                                                                                        $
                                                                                                                                                                                                                        $

                                                                     18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and, if
                                                                     applicable, on the Statistical Summary of Certain Liabilities and Related Data.                                                                    $            3,309.00


                                                                     19. Describe any increase or decrease in expenditures anticipated to occur within the year following the filing of this document:
                                                                     Debtors' children intend to assist the Debtors with the Debtors' expenses.




                                                                     20. STATEMENT OF MONTHLY NET INCOME
                                                                         a. Average monthly income from Line 15 of Schedule I                                                                                           $              730.42
                                                                         b. Average monthly expenses from Line 18 above                                                                                                 $            3,309.00
                                                                         c. Monthly net income (a. minus b.)                                                                                                            $           -2,578.58
                                                                                                   Case:11-00443-jdg
                                                                     B6 Declaration (Official Form 6 - Declaration) (12/07)
                                                                                                                                      Doc #:22 Filed: 04/11/2011                         Page 13 of 13
                                                                     IN RE Dills, Paul A. & Dills, Lois D.                                                                               Case No. 11-00443-jrh
                                                                                                                               Debtor(s)                                                                                    (If known)

                                                                                                             DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                      DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                      15 sheets, and that they are
                                                                     true and correct to the best of my knowledge, information, and belief.

                                                                     Date: April 11, 2011                                 Signature: /s/ Paul Dills
                                                                                                                                                                                                                                                       Debtor
                                                                                                                                       Paul Dills

                                                                     Date: April 11, 2011                                 Signature: /s/ Lois Dills
                                                                                                                                                                                                                                         (Joint Debtor, if any)
                                                                                                                                       Lois Dills
                                                                                                                                                                                               [If joint case, both spouses must sign.]

                                                                                   DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.
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                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                           Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.



                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                          Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:


                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                                     (the president or other officer or an authorized agent of the corporation or a
                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of          sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
                                                                     knowledge, information, and belief.



                                                                     Date:                                                Signature:


                                                                                                                                                                                                 (Print or type name of individual signing on behalf of debtor)

                                                                                   [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                              Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
